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.

Mckee, Charles E. (AT) (FBI)

From: ivlcl<ee, Charles l:'. (AT) (FBI)

Sent: Friciay, june 02, 2017 1150 AM

To: |<iri<|and, Marcus (AT) (l-`BI); Reyno|ds, Hubert J. (AT) (FBI),' lohnson, Kimber|y J, (AT) (FBI);
Granich, Kiinber|y C. (AT) (FBI); Szczepansl<i, Brian ). (AT) (FBI)

Cc: Butts, Mccarthy A. (AT) (FBI): Garrick, luslin C. (AT) (FBI); Mcafee, Thomas M. (AT) (FBI]

Subject: ERT Ca||out

Hello Southern Team. l wanted to let you know that we may have an ERT callout which may occur sometime from
today, June 2, through next Tuesclay, June 6. This reason for the unknown date is because this is a rapidly developing
situation which involves FB| HQ components who are calling the shots.

Here is what l know so far, the search will most likely involve a residence and automobile search in the Augusta area.
This is not a drug search but rather more of a document and computer related search. Not a high risk search but need
to make sure we do it right.

Please let me know you availability for the search.

Thank you,

Chuck McKee

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Nlckee, Charles E. (AT) (FBI)

From: lvltkee, (_`!\.:irle:a [§_ (Al`) (FB|)
Sent: lrlrl'¢iyi lurie 02, 20] 7 l.'€;‘l() l’l\.'l
To: (,iinniti\, Kilnl)ef'rly C`. (AT) {l"Bl)
Subject: ltl'_; l'l<i (`_.'\l|c)ut

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l`h;nlk _\i)n`

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Mckee, Charles E. (AT) (FBI)

From: l`vlckee (`_|iailes l; t/\l) (l~'Bi)
Sent: l5i'itlii_tr, lone t].`l?d 2()_l_7 1132 Pi'\/|
To: Sziizepanski, Biiau J_ (AT) (FBl}
Subject: Rl:`; kill (`..'t|lc)ut

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l hitt l\ .\‘li‘l\'ee

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|Vlckee, Charles E. (AT) (FBI)

Frol‘n: l\./l<_k'ee, C|t¢n|es l§. (/\ |) (l~`Bl)
Sent: l:riclay, hine 02, 2017 .liflG l"lvi
To: lohnsr:)n, Kiinl)ei|y l. (A`i`) (I:BI)
Cc: Al|en, lefhey |'vl. (/-`tl) (Flil)
Subject: RIE' thl (fat!r_)ut

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--------- tlrig.ginal message ~----~-~

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Case 1'17-cr-OOO34-.]RH-BKE Document 235 Filed 02/27/18 Page 6 of

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drug search but rather more oi`a document acid computer related search. Not a high risk search htti need to make sure we do it right

l’leasc let mc know you availability t`or the scarch.
l`hank yoti.

Chuck McKce

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Mckee, Charles E. (AT) (FBI}

From: l`\/lt kee, Cbaiies l;. (All (FBl}
Sent: t-iiday, lime tl.l_’, .?01`/ 302 Pi\rl
To: Kirl<lanr_l, Marcus (Al`) (FBI)
Subject: RI§; t;`i`\l Cal|out

lt is looking lil\'e tomorrow inornin;_l \\hen \\e \\ill do it. l \\'ill let _t'on ltno\\ more ina |e\\' honi's.

-------- tlriginal message ---»----

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itt ne search but rather more ol`a document and computer related search Not a liig_{h risk search but need to make sure \\e do it i'i_~_‘ht_

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lh.nth §on.

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Mckee, Charles E. (AT) (FBI)

From: i’\/lt.il<t;’t;r` t".liarlo:» l`;. l/\'l`l (l?liil}
Sent: l-“iiiln\,/, luut-) ().E_'d L;‘t)l'/ `/":2`1 t’t\ft
To: t'\'iil<lanill l\/laitiiz1 [/\l) ttt§l)
Cc: Bttlts,, lvlt c,iirtli\/ /\. (AT) (Flill
Subject: lllf' l;`t-Z`l` Cai|otit

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then our search team \\'ill liegin,

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-------- t)riginal ntei~;.\:a_i:e -----~~--

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From: t\/tckee, Char|r:s t_-`. (AT) (FBt)
SQlit: tii'irlt)y, tone 02, 2017 3102 Pl\/t

To: Kirkl.'m(l, l’\/larctis (AT) {I:Bt] <“

Subject: ltl`: |:RT Ca|lotit

lt i.\ lool\iu;`I like tomorro\\ niornin_i__' \\lien \\'e \\‘ill do it. l \\'ill let '\ou l\'no\\‘ more in a l`e\\' liotu‘.\‘.

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- . "‘lolm.~;on. Kiinherl_\' .l. t.-'\'l`t tl"l¥l)" -- "tira-tnieh. l\`iinlierl_\- (`. t.'\'l`)
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|lt_t components \\ho are calling the shots.

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drum l\e.'treh hot rather more ot`a doctirnent and computer related seart'h. Not a high risk search hut need to make sure ue do it right

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l lianlt }ott.

t hitcl\ .\lcl~§ec

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Garrick, Justin C. (AT) (FBI)

From: Homburg, t\/|ichael B. (WF) (FBI)

Sent: Saturday, June 03, 2017 7:37 AM

To: Garricl<, Justin C, (AT) (FBl),' Varacalli, Michael F. (CD) (FBl); Grosse. Natalie V4 (OGC) (FBI);
Rich, O|iver E. (AT) (FBl); t-tarrison, James T. (AT) (FBI)

Subject: Subject interview and polygraph authority

Fol|ow Up Flag: Follow up

Flag Status: Flagged

.lustin.

`l`ltis e-mail documents (.`l_)-4 S(T authority to conduct a subject interview and administer a l`oreign
counterintelligence-l`ocused p¢.)lygrapb. /\lthough authority is granted ed-4 understands a polygraph is not
currently planncd.

l will document the above in an l:f(,` when l am in the ol`liee.

i\'like

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lVlCl<ee, Charles E. (AT) (FBI)

From: i'\/lcl<eed C`|'iailos i_`. tAl'] (li`l§l_l

Sent: 5atuiday, tone 01 2017 8:2-’l Pi`vl

To: Kiti<|anrl_ l\/‘l.'tictis l/\l`) (FBI)

Cc: tititts, t\/lccarthy /\. (/-\l) {FBI),' Mcalee, thomas l\.rl_ (AT) tl"-Bl); loe Frant;ois; lirynge|son,
l\/tail< C. (At] tll?()); t-|artison, laches `t`, t/-‘t`l') (FBI)

Sttbject: R|_: tith Ca|lout

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(ireat job toda_\. :\ \'er_\ successful entire operatiou. \\'itlt experience comes excellence and that was proven to
lie true h_\ _\'ou toda_\_'. 'l`hanl\' )-'ou |`or _\'our hard \\‘orlt' and l`ocus to get the_iob done_

t`hucl\ ;\lel~lee

-------- t)t‘iginal message ~---~---

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ia; "t\it-i\-e.e-. chin-ics- i-;. t.»\'ri u-'un" ~ "i<ii-t-tiiiia_ stitt-eus- t.,-\'rt n»'nn"
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t`c; "l§utts. \»lec‘;li'tli} .'\. t.-'\`l`) tl"l§l t" *

\`ubieet: l{l'_: l{l{ l` (`allout

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-------- t)riginal message ~"~»-----

l'rom; ".\lcl\'ee. (`ltat'les li. (.\-'\'l`l tl"l!ll" m
l)ate: til/17 72.'_’tl l’t\’l ({i:\’l`l'~tl$:lltl) " "" " _ q

lo.' "l\'irltland. .\'lzu‘cus (.-\'l`) t l~‘ltl)"

t c: "lhitts. i\*leearth_\' .'\. t./`\‘l't tl"lilt" ~'-'

.\`ub_iect: l{l;.' l{l{`l` (`allottt

\\'e ;u‘e lta\'ittg :t lll:llll ,/\i\’l r:ill_\, time at the .-‘\ti_i_,'ust.'i lilll ot`t"iee tomorro\\. .'\;_-eots \\ill al`t`eet the arrest and
then our search team \\ill begin.

l’leasc reply back to acloio\\ledge that _\-ou are good with this plan.
llitiiiks.

t`lmcl\ ;\iel\'ee

` 2
Case 1'17-cr-OOO34-.]RH-BKE Document 235 Filed 02/27/18 Page 12 of 6

-------- t)riginal message ~-~----

l'roin: "l\'irl<li.ind. i\"lareus t/\ l`) t|"l£l)" '-*
l);ne; tlt\,-’tl.“l"`}tll 7 _`\:.`12 l’i\l ttii'\.»t't'-Uh":ttt))

iti; "_\-ic-t-t-e_ choice t-i. r_»\'rt n-‘nn" _
.`\`ub_iect.' l~’\l": lil<'l` (`alloul

:§=\te:e t wave the office today, are there any items, equipms-‘nt, elt‘_ t need to take home with me.

From: Mr_l<ee, Chair|es t-_. (AT) (t`Bt)
Sent: l`rida\,',)unt-1 02, 2017 3:(]2 P|'Vt

To: l\’ir|dand, t\/tarcus (AT) (FBI} w
Subject: tttl: lIRT Catlout

lt is looking lilte tomorro\\ morning \\'hen \\e \\ill do it. l \\ill let _\ou l\no\\ more in a l`e\\ ltours.

--------- l)riginal message --~--~---
l't'oin: "l\'irl\'land_ .'\'laretls t;\ lt tl"lll)" '~l -'
l)ate! lt(i tl:-":lll 7 ll.'t)ll l’:\'l ((il\#l'l ~U_"t:l)

lo;

`::\lck_ee; (_l`hai_'es li. t.'\`l`) tl~`lill" we "Rc\-‘nt_ilds,_“l lubert .l. t.f\'l`) tl"lil)"
' ll - ._ ".lohnson. l§itnbei _' .. - l)" -_ ! ','(_iranieh. l\'imberljs‘ ('. t.»'\`lt

   
 
  

   
 

_; ".‘s`xc/epansl<i. lii‘i_a_n .l. t/\'l`) (l"lilt

 
   

(`allout
lin in vlust let me kuo\\'

- ----- t trieinal ktt‘ss:igt- -----

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lo' lstrltlaud. Marens (A`l`) (l"l§l]
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c. ..i ccart _ . /\`l") tl"lilt mt ti;it'i'it'k. ,l'ustin t`. (.-\ l )tl"l§l}m§‘; .\'lcal`ee_ thomas _\\l
.; it ri n-‘nn M '
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. '/.c/epans 't.

  

llello Soutliern lcatn. l oantecl to iet _\ou l\no\\ that we rna_\ lta\'c all l'.'l( l call'out which ma_\ occur sometime li‘om toda_\_ _luuc .?.
:liron!,'_h next 'l`ue.\d;t_\. .lttne o. lliis reason lor the unl\no\\n date is because this is a rapidl_\ developing situation \\liiclt involves l~lil
llt_t components \\'ho are calling tlte shore

lleie is ubat l l\no\\' so f`ar. the search o ill most |iLL‘t} involve a residence and auton'iobile search iri the .'\ugttsta area. `l'his is not a
drug search but rather more ot`a document and computer related seat'ch. Not a high risl\ search biit need to ntaltc sure we do it right

` 2
Case 1'17-cr-OOO34-.]RH-BKE Document 235 Filed 02/27/18 Page 13 of 6
l)|eas¢~`l'el me know ‘you availability For the scarch,

'I`hztnk you,

Cltuek l‘vth¢e

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Garrick, Justin C. (AT) (FBI)

Frotn: t-laiiisoii, lanies l`t (A`l`) tt-Hl)

Sent: l'ritlay, lone ()2, 20'17 7:.`)`7 l’l\/l

To: P;it<, Mtirang (/-\`l`) (liltl),' Ri<;li Olivei £i_ (f\t) (FBI); (_Srave- t)e Peiet|tzt, Ricardo (AT) (Ftil_l
Cc: Garri`cl<, lt_istio C. (A`l`) (l-`Bl)

Subject: t`Wd: Ops P|an

Attachntents: Ops t)|an' BattleRo\-'i.dor.\c

Fol|ow Up Flag: t-o|loi-v tip

Flag Status: l-l.'iooed

\\~`arrant should be signed tonight oi' l`n's‘t thing in tlte r\i\»l. l'\'e coordinated \\-.»l z\»lagisti‘ate .ludge. \-\"e'i'e going to
set tip on subject house bel`oi'e tl7tlli. t`r\l{'l` and i\'lS`l` at'e due in .'\()R around ltlt)tl. ()nee we ba\'e subj in
pocl\et and all loose ends tied tip \\‘e'll esecute H'\\"‘ hle l` \\ill remain on Sub_i al`tet‘ completion ol` search il`\\‘e
don’t airesi_ lliat`s otir platt l`or no\\'_..standing b_\' l`ot' |irs't contact though tl lia\e a l.`itl(l tee-tittiet. l plan to
push an_\ media inquiries to Hte\‘e l'.nintett.

ttli\er'( il)l’ - .lustin has dotie a lunt.'istic_iob pulling this ol`l` in l-l liotirs.

t)i'iginal message --------

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ia; "i isn-mt trimes- 'i'. i.'\ ri ti-'nn" ~
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\pei'i.tl .\_i;ent
|ttl - \iigusta

tJ|llt_'L' t Ttlt_ii.{'.‘_:»,i?[lz

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Case 1'17-cr-OOO34-.]RH-BKE Document 235 Ft|ed 02/27/18 Page 15 of 6

Garrick, Justin C. (AT) (FBI)

From: l|attist_)ii, ).irites l (AI`) {l`Bl)

SEHf! Sttttnclny, )titit"' t]$, 20]7 355 l’l\/t

To: ttirtiei, |it;¢t; ?s`olnii, lonniler {LlSA(}/\S); tide|stetn, ittlie tNSD) [ll\/lD)

Cc: /\n<lieas t-_tti.tn l., (_ianicl<, lttsttn ('\ tt'\'lt tl"til)j t'tonthtiitj, lvlichne| B, (WF} (liBt); tf}rosse,

|`\l.'ttalie \/t (O(i(`,) tl-`Bl}; ltti'lt, Oliver t_ t't'\tt tt ttt},‘ tt.ttiison, J.iitiies l. (AT) tllltl); l`ht_nn|;isood
l\)latthew Ei. t(fl]) (l lil),' St ott, litc;li.'trtl 8 (i'\l§l)) (llvll))

Subject: l\’e t{l W Seaii'ii Wait¢tnt )'\llitlavit
Follow Up Flag: t`-`o|lot'-r tip
Flag Status: t‘|at_tqecl

lnitiatingl contact iio\s'. \\`ill execute .`s`\\` itt a te\\.

-------- t)i'iginal message ~--~----

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".‘s`cott. Rieltai'd .\`. tt\l

     
    
   

 
 
  
 
  
 

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" l_hontpson._Mtttthe\\‘ l'.`. (_`l))( '

~“. "l lot_tibttrg.

 
        
   

 

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»'tssot:iate General Cotmsel
mitigation

From.' Sotart‘, Jertnit'er (USAGAS) [rne)t|to:*
Sent: Sattit'ctay, June 03, 2017 01:32 PM _ , , 1

To: `t`ttrner, t_t'sa; tide|stei'n, _toli`e (NSD) (,tMD) 1 '
Cc: Ar_tdreas, Eth t 't'.' Garrick, Justin C. (AT) ( 8
f ,' Grosse, Natalie V. (OGC){ ‘_l.!l‘
arrison, Jaines T. (AT) (FBI)
,' SCott, Richard S. {NSD
catch Warr€int /\fttdavt't

 
 
  
  
 
    

' t-tornburg, Mi'ehne| B. (WF) (FBI)

»-,' Rt'ch, Oliver E. (AT) (FBI)

om son, Matthew E. (CD) (FBI)
ov>

  
   
  

 

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Case 1'17-cr-OOO34-.]RH-BKE Document 235 Ft|ed 02/27/18 Page 16 of 6

Garri`cl<l Justin C. (AT) (FBI)

Fi'om: Hariison, lanth T. (AT) tl~`l$l)

Sent: St'tttn'day, lone 03, 20] 7 41()9 Pl\./l

To: `l`ttrnei, Li$a; Soleiri, Jennifei {USAGAS); Ede|$tein, .lulie (NSD] (JMD)

Cc: Andreas, tttinn T.; Gai'i'iijl<, Justin C. (AT) tFBtl,' t~tonibtti'_q, tv‘tichae| B, (WF) [t-'Bl}; Gi'osse,

i\lzttt'tlie Vt (OGC) {FBl); Rit_‘lt, Oliver E_ (AT) (l~`Bl]; t-tarrison, Jarttes l'_ (AT) (FBI); Thontpson,
lvlatthew E. (Cl)) (FBl); Scott, Ricliarcl S tNSl)) (.ll\/lDt

Subject: Re: RLW Searth Wzt train Alfidavit

Follow Up Flag: t-ollow nn

Flag Status: t-'|aggecl

l€esidence secnre. lnitiating searcli. \\=`inner appears to bc cooperative bttt opted to be interviewed at residence

\it‘e l' l§l til'l'tce.

-------- t)t'iginal message ----~--

l‘i‘otn.' l"l`ttt'ner. l.isa" F
l)ate: t)"_`\"l 7 _`~;5.`\ l’t\'l( nl '-Ui:tlt)}
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.\liclt;tcl li_ t\\'l") tl"l§l]" '11 "(it'ossc. :\"atalie \"'. (t)(i(`) tl"lil '
"l{ich. ()li\'ei' li. t.-\`l`) ('l"lll)"~ ` ." _.ttt't'isoil. .lantes `l. t."\`l`) (l"lBl)"
"`l`lto son t\'latttlte\\j l:`. (`l)_) (l"l%l)" . l'.‘§co|t_ l{ichai'd S. (t\Sl)) (.lt\'ll)]'

    
  
 

      

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lisa tV|_ 7turner

i\ssociate General Cotinsel
litigation

From: So|€irt, .lenrti'ter (US!-\GAS) toth
Sent: S(Jl.urday, June 03, 2017 01:32 _. , . _,

To; `l'ttrner, t_tsa; Edetstein, Jutt'e (NSD} (.lMD) ~
Cc.' Anclrea_ Etha ' ai'rick, Justin C. (AT) (F=
Grosse, Nata|ie V. (OGC
` ar t'son, Jarnes T. (AT) (FBI
y t; Scott, thharct S. (NSD) JMD`
Su jeet: RE: RLW ear`ch Warraot Affidavit

    
 
   
 
   

x |~toinbttrc, Mi`ehae| B. (WF) (FBI)
. thh, O|ivei' E. (AT) (FBI)
ntpson, Matthew E. (CD) (FBI)

  
  
 

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Garricl-t, Justin C. (AT) (FBI)

From: Harrison, james l. (AT) (FBI)

Sent: Sattirday, lone 03, 2017 5;20 Pt\.it

TOZ Titrnet', Lisaj St)|ari, ienoifer (USAGAS),‘ Edelstein, Jtilie tNSD) (i'l\/ll))

Cc: /\rtdieas, .l.-than `l`.,' Gairit:l<J justin C. (Al) (FBI); l~|onthui'g, lvlichae| B. (WF) (FBI); Grosse,

l\tatalie \/_ (OGC.J (l-'Bl); Rit.hl C)live-i t_§. (AT) (FBI),' |larrison, James `l. (AT) (FBI),' Tlionipson,
t\ttatt'tiew t§, (Cl)] (l?Bl); Scott, Ricliard 51 tl\tSD) (tMD)

Subject: Re: l\‘LW Seatch \i‘\."ait‘ant Alfidavit
Follow Up Flag: l:ol|ottil tip
Flag Status: tt¢;tg_oetil

lntert'ie\s' continues; lto\\'e\et; \\"'innet' has thus l`ar stated she tlo\s‘nlo.'tdi.~d tlte report and mailed it to the nc\\s
ofttlct.

-------- t)i'iginal message --»~----

l"t'ont: l"l`tn'ner. l,isa" sw
l)ate: (`\"_i="l 7 _`i.‘."i.`i l’;\'l ((it' -U.\.' )

o.' ".\`olat'i_._.l`enllili.‘|t_; §§lm!(\i.~'\h` t" `__._ "lidclstein. .lttlic t."\‘Sl)l t.lt\»ll)l"
" 7 ' _, "( i:ti't'ick_ .lustin ('. t/\`| ) (l"lil)" gm n “1"

` _:.;;-;. "(ii'os.sc. i`\latalie \"'. tt)(i(‘)( ~
1 "l_l_it'i'i_son: .lantes 'l`. t;\`l`) (l"l‘!l)"
' ' "Xeott_ l{icliard S. (:\.

        
      
 

  
    

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t.is.t t‘et. Turner

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From: 50|an`, Jenni'ter (USAGAS} [n'tai`lto:_
Sent: Saturday, June 03, 2017 01:32 PM . . -- -
To: t`tirner, Lisa,' Edelstet`n, Jtitte (NSL)) (JMD)

Cc: Anctreas, Ethan T.,' Garrick, Justin C. (AT) (
-: Grosse, Natatt'e V. (OGC) FB
_rison, James T. (AT) (FBI)

,' Scott, Ri`c;|iard S. (NSD) {_t D
arch Warrant Afft`davt't

 
     
 

otnburg, Michael B. (WF) (FBI)
; Rich, Oliver E. (AT) (FBI)
r_ mpso_n, Mat'thew E. (CD) (FBI)

 
    

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From: Rich, O|ivei' E. Jr. (AT) (FBI)

To: EQLQLL_}£L`ttllf_QL[LJ_SA§£§)

Subject: FW: Case funds

Date: Monday, February 26, 2018 2:18:34 PM

From: t-iomburg, Michael B. (WF) (FB|)

Sent: Friday, tune 02, 2017 7:16 P|Vl

to: tacit oliver E. (AT) (FBti _

Cc: Varacalli, |\/|t'chae| F. (CD) (FB|) _; Haertel, Paul H. (CD) (FB|)
<_>

Subject: RE: Case funds
Oliver,

This entail confirms CD“Ll» vvil| coordinate the enhancement of FB| Atlanta's hudget, provide a TR#, or
coordinate With C|RG to cover the costs associated vvith the deployment of surveillance assets for
this matter.

CES/USAO have indicated a PC arrest vvou|d he potentially authorized if the subject decides to flee 50
please plan accordingly (to cover vvith fisur and for arrest if authorized).

lam also in the process of obtaining declassification for information itt the affidavit Wi|| include you
on the emai| so vve can start discussing timing t believe the USAO and CES planned to start fresh in
the Ah/l to finalize the vvarrant.

l`\/lii<@

From: Rl`ch, Oliver E. (AT) (FBI)
Sent: Ft‘lClay, lurie 02, 2017 6:21 Pl\/l
To: Homburg, |\/tichael B. (WF) (FB|) _

Subject: Case funds

Mike,

We are deploying surveillance teams to SE Georgia this weekend We Will need a funding
enhancement to cover tdy expenses I will get you an estimate

Thauks,
Oliver

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DEFEND_ANFS ' ‘
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DEFENDANTS ' » 4 _` ,r l

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'C-REEN ¢b;tm

 

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PEFENDANFS,
BXH!B'[T No.'.; . §

 

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UNITED STATES DiSTRiCT CouRT

for the

Southcrn District of Georgia

ln the Matter of the Scarch of
(liri¢'jl_v describe the properly to be .t'um'i.'lie¢l
or identify the person b_\' name ami rldct'ress)
1951 aA'mE Row. AueusTA, GA 30904;

A LlGHT COLORED N|$SAN CUBE W|TH VIN
JNBAZZKRDCT254476. and the person 01 REAL|TV LE|GH WlNNER

Case No. ii l'l MJ ZL\

vvvvv~./

SEARCH AND SEIZURE WARRANT

'|`o: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
ol'tlic following person or property located in the Southern l)istrict of Georgia
/icl¢'ril([i' r/iu person or describe lite properl_t' to ha searched nmi give its lacqum/Z

See Attachment A.

l find that the affidavit(s). or any recorded testimony. establish probable cause to search and seize the person or property
described above. and that such search will reveal rii!i»iiig‘/j- me pen-mi ar ih~.u~nht» ihi» priip.»rn» m he .vei:cd;:

See Attachment B.

YOU ARE COMMANDED to execute this warrant on or before June 17. 2017 mm m i'.m».»¢l l-t¢lii_i-.o
§f iii the daytime 6:00 a.m. to l():O() p.m. 0 at anytime in the day or night because good cause has been established

Unless delayed notice is authorized bclow. you must given copy of tlic warrant and a receipt for the property taken to the
person from whom or from whose preinises. the property was taken. or leave t|ic copy and receipt al the place where the
property \v' is taken.

'l'lie officer executing this warraitt. or an officer present during the execution ol`thc warrant. must prepare an inventory
as required by law and promptly return this warrant and inventory to Hon. Brian K. Epps. United States Nlagistrate Judge
fl ')1iled.\'lale.i' t\lagi.t'lrule Ju¢/gel
ij I’ursuant to 18 U.S.C. §3|03a(b). | find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial). and authorize the officer executing this warrant to delay notice to thc person w|to. or whose
property. will he searched or seized r.»ln't~/i ilit~ appropriate him

    

t','l for days mm m i».uv¢'¢l.¢th l'l nntil. the factsjustif_\ iitg. the later speeilic ate of § _
Date and time issued: 6/3//7 l g '6 5 7 ,M ,u¢`
/ F ‘ .Imlgt".i' /g))iiliirt'
Ci!y and mm Augusta. Georgia Brian K Epps United States Nlag`istrate dodge

l’rinled milm' um/ llll¢

Ca&%éé]f'lci-'Sr@$c°tds§t?iilri-Bt-*§i<ED%%HUiii%ht°-§§ Fii"it“éii%’e{/%€//W BQ§S §%PIGZ

ATTACHMENT A
l’roperly 10 be searched
The premises to be searched, 1957 Battle Row. Augusta. GA 30904. is further described
as a stand-alone, one-story house, located near the intersection of Battlc Row and Walker Street.
tt is a rcd brick house with a shingle roof. 'l`he numbers 1957 are visible on the residence. The

front door is covered by a front porch.

The vehicle to be searched in a light-colored Nissan Cubc with VlN

JN8AZZKROCT254476, cci-registered to REALITY LEIGH WINNER.
The person to be searched is REALIT\' LEIGH WINNER. who is a white female with

blonde hair and blue eyes, 5`5" ta|t. weighing approximately 145 pounds, with DGB December

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A'I`TACHMENT B
Properly lo he seized
l. All documents and records relating to violations of 18 U.S.C. § 793,
involving REALITY LElGH WINNER and occurring alter January l, 20|3, including:
a. Classifled material;
b. Any U.S. Government matcrial:
c. Contacts, by any mcans, with foreign govemments. foreign powers, or
agents of foreign powers;
d. Contacts, by any mcans. with media outlets:
e. lnformation, including communications in any forrn, regarding the

retrieval. storage, or transmission ol`sensitivc or classified materia|;

l`. Records oftravc|. including calendars, travel tickets, receipts, and
photographs;
g. lnformation regarding tradecraft. how to obtain or deliver sensitive

infonnation, and/or how to avoid or evade detection by intelligence officials or law
enforcement authoritics;

h. Financia| records. including bank statements, account information and
records ofany financial transaction;

i. ln formation relevant to a motive for the offense, such as ami-government
stutements. propaganda. research. and solicitations or offers to engage in ami-government
or unlawful activities.

2. Computers or storage media used as a means to commit the violations described

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above.

3. lior any computer or storage medium whose seizure is otherwise authorized by
this warrant, and any computer or storage medium that contains or in which is stored records or
information that is otherwise called for by this warrant (hcreinalier, "COMPU'I`ER“):

a. evidence of who used, owned, or controlled the COMPU'l`ER at the time the
things described in this warrant were created, edited. or deleted, such as logs,
registry entries, configuration ftles, saved usemamcs and passwords, documents,
browsing history. user protiles, email, email contacts, “chat,” instant messaging
logs, photographs, and correspondence:

b. evidence of schware that would allow others to control the COMPUTER. such as
viruses, Trojan horses, and other forms of malicious software as well as evidence
of the presence or absence of security sotiware designed to detect malicious
sohware:

c. evidence o|` the lack of such malicious sohware:

d. evidence indicating how and when the computer was accessed or used to
determine the chronological context ofcomputer access, usc. and events rciating
to crime under investigation and to the computer user;

e. evidence indicating the computer user’s state of mind as it relates to the crime under
investigation;

f. evidence of the attachment to the COM PUTER ofother storage devices or similar

containers for electronic evidence:

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. evidence of counter-forensic programs (and associated data) that are designed to

eliminate data from the COMPUTER:

. evidence of the times the COMPUT[£R was uscd:

passwords, encryption keys, and other access devices that may be necessary to
access the COMPU'I`ER;
documentation and manuals that may be necessary to access the COM PUTER or

to conduct a forensic examination of the COM PUTER;

. records of or information about lntemet Protocol addresses used by the

COMPUTER;

records of or information about the COMPUTER`s lntemet activity. including
firewall logs, caches, browser history and cookies. "‘bookmarked” or “favorite”
web pages, search terms that the user entered into any lntemet search engine. and

records of user-typed web addresses:

. contextual information necessary to understand the evidence described in this

attachment.

Routers, modems, and network equipment used to connect computers to the

As used above. the terms "records“ and °‘in formation" includes all forms of creation or

storage, including any form of computer or electronic storage (such as hard disks or other media

that can store data); any handmade form (such as writing); any mechanical form (such as printing

or typing); and any photographic form (such as microfilm. microtichc, prints, slides. ncgatives,

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videotapes, motion pictures, or photocopics).

'I`he term “documents" means records, notcs, letters, correspondence forms, financial
records, checks, ledgers, accounting papers. computer printouts, saved e-mail, information on
computer hard drives and disks, computer input and output reports, and writings, and any other
item of any type that conveys in formation

The term “computer" includes all types of electronic. magnetic. optical, electrochemical,
or other high speed data processing devices performing logical, arithmetic, or storage functions,
including desktop computers, notebook computers, mobile phones, tablets, server computers, and
network hard\vare.

'l`hc term "storage medium" includes any physical object upon which computer data can
be recorded. Examples include hard disks, RAM. lioppy disks. flash memory. CD-ROMs. and

other magnetic or optical med ia.

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person contain evidenee, eontraband, fruits. and/or other items illegally possessed in violation of
18 U.S.C. § 793(e).

4. 'l`he facts set forth in this affidavit are based on my personal knowledge,
knowledge obtained during my participation in this investigation. and information li‘om other
l"Bl and U.S. Government personnel. ’l`his affidavit is intended to show only that there is
sufficient probable cause for the requested warrant and does not set forth all of my knowledge
about this matter.

STA'I'UTORY AUTHOR|TY AND DEFINIT|ONS

5. For the reasons set forth below. l believe that there is probable cause to believe that
the I’REMISES. VEHlCLE, and WlNNER`s person contain cvidence, eontraband, fruits, and/or
other items illegally possessed in violation of 'l`itlc l8, United States Code, Seetion 793(e) (the
“Subjeet Offense").

6. Under 18 U.S.C. § 793(e), “whocver having unauthorized possession of, access to,
or control over any document . . . or information relating to the national defense which
information thc possessor has reason to believe could be used to the injury of the United Statcs or
to the advantage of any foreign nation. willfully communicatcs. dclivers. transmits or causes to be
communicated. delivcrcd. or transmitted“ or attempts to do or causes the same “to any person not
entitled to receive it, or willfully retains the same and fails to deliver it to the officer or employee
of the United Statcs entitled to receive it" shall bc fined or imprisoned not more than ten years, or
both.

7. Under Exccutive Order 13526. information in any form may be classified if it: ( l)

is owned by, produced by or for, or is under the control of the United Statcs Government; (2) falls

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within one or more of the categories set forth in the l€xecutive Order [Top Secret, Secret, and
Conftdential]; and (3) is classified by an original classification authority who determines that its
unauthorized disclosure reasonably could be expected to result in damage to the national security.

8. Where such unauthorized disclosure could reasonably result in damage to the
national security. the information may bc classified as “Confidcntial" and must be properly
safeguarded. Where such unauthorized disclosure could reasonably result in serious damage to
the national security. the information may be classified as "Secret" and must be properly
safeguarded. Where such unauthorized disclosure could reasonably result in exceptionally grave
damage to the national security. the information maybe classified as "'l`op Secret" and must be
properly safeguarded.

9. C|assilicd information ofany designation may be shared only with persons
determined by an appropriate United Statcs Government official to be eligible for access, and who
possess a “need to know." Among other requirements in order for a person to obtain a security
clearance allowing that person access to classified United Statcs Government information, that
person is required to and must agree to properly protect classified information by not disclosing
such information to persons not entitled to receive it. by not unlawfully removing classified
information from authorized storage l`acilities, and by not storing classified information in
unauthorized loeations. lf a person is not eligible to receive classified information, classified
information may not be disclosed to that person. fn order for a foreign government to receive
access to classified information, the originating United Statcs agency must determine that such
release is appropriate

lO. l’ursuant to IZxccutivc Ordcr 13526, classified information contained on automated

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in formation systems, including networks and telecommunications systems, that collect. create,
communicate, compute, disseminate, process. or store classified information must be maintained
in a manner that: (1) prevents access by unauthorized pcrsons: and (2) ensures the integrity of the
in formation.

l l. 32 C.F.R. Parts 2001 and 2003 regulate the handling of classified infon'nation.
Specifically, 32 C.F.R. § 2001.43. titled °‘Storage," regulates the physical protection of classified
infonnation. This section prescribes that Sccret and Top Seerct information “shall be stored in a
GSA-approved security container, a vault built to Federa| Standard (l`~`l~lD STD) 832, or an open
storage area constructed in accordance with § 2001 .53." lt also requires periodic inspection ol` the
container and the use of an lntrusion Deteetion System. among other things.

PROBABLE CAUSE

12. As set forth in further detail belo\v, WINNER is under investigation for printing
and improperly removing and transmitting classified material from an intelligence Community
Ageney (the “U.S. Government Agency") on or about May 9, 2017. and passing the classified
material to an on|ine news outlet (the "News Outlet"). WlNNl£R is a contractor with Pluribus
lntcrnational Corporation assigned to a U.S. Government Ageney facility in Georgia. She has
been employed at the facility since on or about February l3. 2017. f~`rom .lanuary 2013 until her
employment with Pluribus lntemationa| Corporation. W|NNi;'R was an active duty member of
the U.S. Air Force and held a Top Sccret elearance.

13. On June l, 2017, the l-`Bl was notified by the U.S. Government Ageney that the
U.S. Government Ageney had been contacted by the News Outlct on May 30, 2017, regarding an

upcoming story. The News Outlet informed the U.S Government Ageney that it was in

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possession of what it believed to be a classified document authored by the U.S Government
Agency. 'l`he News Outlet provided the U.S. Government Ageney with a copy of this document.
Subsequcnt analysis by the U.S. Government Ageney continued that the document in the News
Outlet`s possession is intelligence reporting dated on or about May 5. 2017 (the "inte|ligence
reporting“). This intelligence reporting is classified at the 'l`op Seerct level, indicating that its
unauthorized disclosure could reasonably result in exceptionally grave damage to the national
security. and is marked as such. The U.S. Government Ageney has since continued that the
reporting contains information that was classified at that level at thc time that the reporting was
published on or about May 5, 2017, and that such information currently remains classified at that
levcl.

14. 'l`he U.S. Government Ageney examined the document shared by the News Outlet
and determined the pages of the intelligence reporting appeared to be folded and/or creased,
suggesting they had been printed and hand-carried out of a secured space.

15. T he U.S. Government Ageney conducted an internal audit to determine who
accesscd the intelligence reporting since its publication 'l`hc U.S. Government Ageney
determined that six individuals printed this rcporting. 'l`hesc six individuals included WINNER.
A further audit of the six individuals desk computers revealed that WINNER had e-mail contact
with the News Outlet. 'I`he audit did not reveal that any ofthe other individuals had e-mail contact
with the News Outlet.

16. The U.S. Government Ageney determined that WlNNER had e-mail
communication with the News Outlet on or about Mareh 30. 2017, and Mareh 31, 2017. The first

e-mail was from WlNNER, using e-maii address da3re.litncss@gmail.com, to the News Outlet.

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ln it. WlNNER appeared to request transcripts ol`a podcast. 'l`he second e-mail was from the
News Outlet to da3re.litness@gmail.com and continued WlNNER‘s subscription to the serviee.
Thc da3re.fitness@gmail.com account is a personal e-mail account not sponsored by or affiliated
with the U.S. Government Agency.

l7. On or about May 9. 2017. four days aiicr the publication of the classified report.
WlNNER conducted searches on the U.S. Government Agcncy`s classified system for certain
search terms, which led WlNNER to identify thc intelligence reporting On or about May 9,
2017. WlNNER also printed the intelligence reporting A review ol` WlNNER’s computer history
revealed she did not print any other intelligence report in May 2017.

l8. At all times relevant to this ai`fidavit. WlNNER has maintained an active Top
Seerct clearance. The U.S. Government Ageney confirmed that although WlNNER had the
required access to search l`or and view the intelligence reporting. the information contained in the
intelligence reporting is unrelated to herjob dutics, and WlNNER therefore does not possess a
“nced to know."

19. On or about May 24. 2017, a reporter f`or the News Outlet (the “Reporter")
contacted another U.S. Government Ageney affiliate with whom hc has a prior relationship. 'l`his
individual works f`or a contractor for the U.S. Government (the "Contractor”). 'l`he Reporter
contacted the Contractor via text message and asked him to review certain documents The
Reporter told the Contractor that the chorter had received the documents through the mail. and
they were postmarked "Augusta. Georgia." WlNNl-ZR resides in Augusta, Georgia. The Reporter
believed that the documents were sent to him from someone working at the location where

WlNNER works. The Reporter took pictures of thc documents and sent them to the Contractor.

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The Reporter asked the Contractor to determine the veracity of the documents. The Contractor

in formed the Reporter that he thought that the documents were fake. Nonetheless, the Contractor
contacted the U.S. Government Ageney on or about June l, 2017. to inform the U.S. Government
Ageney of his interaction with the Reporter. Also on June l. 2017, the Reporter texted the
Contractor and said that a U.S Government Ageney official had verified that the document was
real. When questioned about what intelligence report number was associated with the images on
his phone, the Contractor supplied the reporting number associated with the intelligence reporting
at issue.

20. On May 27 to 29, 2017. WlNNER traveled outside the United Statcs to Belize in
Central America. WlNNER provided notice to the U.S. Government Ageney in Mareh 2017 ol`
her intent to travel to Belize in May 2017. The purpose of WlNNER’s travel and her activities
while abroad are unknown.

21. WlNNER resides at the PR[£MISI£S, as verified on June 2, 2017. by her Driver’s
Liccnse address and two utility billing addresscs. Additionally, WlNNER owns and drives a
light»colored Nissan Cubc with VlN JN8AZ2KROC'I'254476. as verified by the vehicle
registration in formation Agents viewed a light-colored Nissan Cubc parked at the PREMISES on
June 2. 2017. and witnessed WlNNER traveling in the VEHlCLE in Augusta, Georgia, on June 3.
2017. l confirmed on June 2. 2017. that WlNNER has a cellular phone serviced by
Cingular/A'l`&'l`. ln my training and experiencc, people typically store their electronics and
correspondence (including letters or printed emails) in their homes and transport them in their
vehicles. l also know that people typically carry small electronic storage devices and

communication deviccs. such as thumb drives and cellular phones, on their person. There is thus

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probable cause to believe that intelligence reporting and evidence of correspondence between
WlNNER and the News Outlet, among other items ofevidentiary value, may be found inside the
PREMlSES and the VEHICLE. as well as on storage and communication devices on WlNNER's
person. Moreover, there is probable cause to believe that evidence of communications between
WlNNER and the News Outlet, among other items ofevidentiary value, will be found on
WlNNER's electronic devices at the PREM|SES. in the Vl;`}~llCl.l'I, and on WlNNER's person.
COMPUTERS, ELECTRON|C S'l`()RAGE, AN|) FORENS!C ANAL¥SIS

22. As described in Attachment |3, this application seeks permission to search for
records that might be found on the PREM|SES. in tlte Vlil~llCl.E. and on WlNNER’s person, in
whatever form they are found. One form in which the records might be found is data stored on a
computer`s hard drive or other storage media. Thus. the warrant applied for would authorize the
seizure of electronic storage media or, potentially. the copying ofelectronically stored
information, all under Rule 41 (e)(2)(B).

23. Probable cau.re. l submit that if a computer or storage medium is found onthe
PREM|SES, in the VE|~||CLE. or on WlNNl`£R`s person. there is probable cause to believe those
records will be stored on that computer or storage mcdium. l`or at least the following reasons:

a. Based on my knowledge, training, and cxpericncc, l know that computer files or
remnants of` such files can be recovered months or even years after they have been
downloaded onto a storage mcdium. deleted, or viewed via the lnternet. Electronic
files downloaded to a storage medium can be stored for years at little or no cost.
Even when files have been dcleted. they can be recovered months or years later

using forensic tools. This is so because when a person i‘deletes" a file on a

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computer, the data contained in the lilc does not actually disappear; rather, that

data remains on the storage medium until it is overwritten by new data.

b. Therefore. deleted files. or remnants ofdeleted liles, may reside in free space or
slack space. that is, in space on the storage medium that is not currently being
used by an active file .. for long periods of time before they arc overwritten. ln
addition, a computer's operating system may also keep a record of` deleted data in
a "swap" or °‘recovery" file.

c. Wholly apart from user-generated liles. computer storage media - in particular,
computers` internal hard drives ~ contain electronic evidence of how a computer
has been used, what it has been used for. and who has used it. To give a few
examples, this forensic evidence can take the form of operating system
configurations, anif`acts from operating system or application operation, file
system data structures, and virtual memory '*swap" or paging |iles. Computer
users typically do not erase or delete this cvidencc, because special software is
typically required for that task. llowever. it is technically possible to delete this
information,

d. Similarly, files that have been viewed via the lntemet are sometimes automatically
downloaded into a temporary lntemet directory or "cache."

24. Foren.ric evidence As further described in Attachment B, this application seeks
permission to locate not only computer files that might serve as direct evidence ofthe crimes
described on the warrant. but also for forensic electronic evidence that establishes how computers

were used, the purpose of their use, who used thcm. and when. 'l`hcre is probable cause to believe

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that this forensic electronic evidence will be on any storage medium in the PREM|SES, in the
VEHlCLE. or on WlNNER's person because:

a. Data on the storage medium can provide evidence of a file that was once on the
storage medium but has since been deleted or editcd. or of a deleted portion of a
file (such as a paragraph that has been deleted from a word processing lile).
Virtual memory paging systems can leave traces ol` information on the storage
medium that show what tasks and processes were recently activc. ch browsers,
e-mail programs, and chat programs store configuration information on the storage
medium that can reveal information such as online nicknames and passwords.
Operating systems can record additional infonnation. such as the attachment of
peripherals, the attachment of USB l~lash storage devices or other external storage
media, and the times the computer was in usc. Computer file systems can record
information about the dates files were created and the sequence in which they were
created. although this information can later be l`alsilicd.

b. As explained herein, information stored within a computer and other
electronic storage media may provide crucial evidence of the "who, what, why,
when, where, and how" of the criminal conduct under investigation, thus enabling
the United Statcs to establish and prove each element or alternative|y, to exclude
the innocent from further suspicion. ln my training and experience, information
stored within a computer or storage media (e.g., registry inl`onnation,
communications images and movies. transactional information, records of session

times and durations. intemet history. and anti-virus. spyware. and malware

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detection programs) can indicate who has used or controlled the computer or
storage media. This "user attribution" evidence is analogous to the search l`or
"indicia of oceupancy" while executing a search warrant at a residence The
existence or absence of anti-virus, spy\vare, and malware detection programs may
indicate whether the computer was remotely aceessed. thus inculpating or
exculpating the computer owner. Funher, computer and storage media activity can
indicate how and when the computer or storage media was accessed or used, for
example. as described herein, computers typically contain information that log:
computer user account session times and durations, computer activity associated
with user accounts, electronic storage media that connected with the computer, and
the ll’ addresses through which the computer accessed networks and the intemet.
Such information allows investigators to understand the chronological context of
computer or electronic storage media access, use, and events relating to the crime
under investigation. Additiona|ly. some information stored within a computer or
electronic storage media may provide crucial evidence relating to the physical
location of other evidence and the suspect. For example. images stored on a
computer may both show a particular location and have geolocation information
incorporated into its tile data. Such file data typically also contains information
indicating when the file or image was created. 'l`he existence ofsuch image liles,
along with external device connection logs, may also indicate the presence of
additional electronic storage media (e.g., a digital camera or cellular phone with an

incorporated camera). The geographic and timeline information described herein

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may either inculpate or exculpate the computer user. Last. information stored
within a computer may provide relevant insight into the computer user"s state of
mind as it relates to the offense under investigation, For example, information
within the computer may indicate the owner’s motive and intent to commit a crime
(e.g., internet searches indicating criminal planning), or consciousness of guilt
(e.g., running a “wiping" program to destroy evidence on the computer or
password protecting/encrypting such evidence in an effort to conceal it from law
enforcement).

c. A person with appropriate familiarity with how a computer works can, after
examining this forensic evidence in its proper context. draw conclusions about how
computers were used, the purpose of their use. who used them, and when.

d. The process of identifying the exact liles. blocks. registry entries, logs, or other
forms of forensic evidence on a storage medium that are necessary to draw an
accurate conclusion is a dynamic process. While it is possible to specify in
advance the records to be sought, computer evidence is not always data that can be
merely reviewed by a review team and passed along to investigators Whether data
stored on a computer is evidence may depend on other in formation stored on the
computer and the application of knowledge about how a computer behaves.
Therefore, contextual information necessary to understand other evidence also falls
within the scope of the warrant.

e. Further, in finding evidence of how a computer was used. the purpose of its use,

who used it, and when, sometimes it is necessary to establish that a particular thing

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is not present on a storage medium. l"or example. the presence or absence of

counter-forensic programs or ami-virus programs (and associated data) may bc

relevant to establishing the user`s intent.

25. Nece.r.t'iry of seizing or copying entire computers or slorage media. ln most cases,

a thorough search of a premises or vehicle for information that might be stored on storage media
often requires the seizure of the physical storage media and later off-site review consistent with
thc warrant. In lieu of removing storage media from the premises or vehicle, it is sometimes
possible to make an image copy of storage media. General|y speaking, imaging is the taking of a
complete electronic picture of the computer's data. including all hidden sectors and deleted filcs.
Either seizure or imaging is alien necessary to ensure the accuracy and completeness of data
recorded on the storage media. and to prevent the loss of the data either from accidental or
intentional destruction. This is true because ofthe following:

a. The time required for an examination. As noted above, not all evidence takes the
form of documents and liles that can be easily viewed on site. Analyzing evidence
of how a computer has been used. what it has been used for, and who has used it
requires considerable time, and taking that much time on premises could be
unreasonable As explained above. because the warrant calls for forensic
electronic cvidencc, it is exceedingly likely that it will be necessary to thoroughly
examine storage media to obtain evidenee. Storage media can store a large
volume of information, Reviewing that information for things described in the
warrant can take weeks or months. depending on the volume of data stored, and

would be impractical and invasive to attempt on-site.

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26.

b. 'I`echnical requirements. Computers can be configurcd in several different ways,

featuring a variety of different operating systems, application soliwarc, and
configurations 'l`herefore, searching them sometimes requires tools or knowledge
that might not be present on the search site. The vast array of computer hardware
and schware available makes it difficult to know before a search what tools or
knowledge will be required to analyze the system and its data on the Premises.
l-lowcvcr, taking the storage media off-site and reviewing it in a controlled

environment will allow its examination with the proper tools and knowledge

. Variety of forms of electronic media. Records sought under this warrant could be

stored in a variety of storage media formats that may require off-site reviewing
with specialized forensic too|s.

Nalnre of examination Based on thc foregoing, and consistent with Rule

4l(e)(2)(B), the warrant l am applying for would permit seizing. imaging, or otherwise copying

storage media that reasonably appear to contain some or all of thc evidence described in the

warrant, and would authorize a later review of the media or information consistent with the

warrant. 'l`he later review may require techniques including but not limited to computer-assisted

scans ofthe entire medium. that might expose many parts of a hard drive to human inspection in

order to determine whether it is evidence described by the warrant.

27.

CONCLUSION

l submit that this affidavit supports probable cause for a warrant to search the

PREM|SES. the VEl'llCLE, and the PERSON described in Attachment A and seize the items

described in Attachment B.

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l{EQiJEST FOR SEAL|NG

28. lt is respectfully requested that this Court issue an order sealing until further order
of the Court. all papers submitted in support of this applieation. including the application and
search \varrant. l believe that sealing this document is necessary because the items and
in formation to be seized are relevant to an ongoing investigation and the |"`Bl has not yet identified
all potential criminal confederates nor located all evidence related to its investigation, l’rematurc
disclosure of the contents of this affidavit and related documents may have a significant and
negative impact on the continuing investigation and may severely jeopardize its effectiveness by
allowing criminal parties an opportunity to flee. destroy evidence (stored electronically and

otherwise). change patterns of behavior. and notify criminal confederates

Rcspectfull_\' suhmitted.

 

S ecial Agent
l~`ederal Bureau of lnvestigation

Subscribcd and sworn to before mc
on June 3. 2017:

 

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AO 9| (Rcv. ll/l l) Ctiminal Complaint

UNITED STATES DISTRICT CouRT

for the

Southern District of Georgia

United Statcs of America
V.
Case No.

REAL|TY LEIGH WlNNER 1117'MJ-024

\/VVV\.JV\./

 

Defendant(s)

CRIMINAL COMPLAINT

l, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of May 9, 2017 in the county of Augusta-Richmond in the
Southem District of Georgia , the defendant(s) violated:

Code Section Offense Descriplion
18 U.S.C. Section 793(e) Gathering. Transmitting or Losing Defense |nformation

This criminal complaint is based on these facts:

See attached aftidavit.

d Continued on the attached sheet.

 

 

%,_,.Can$lainam '.s' signature

Justin C. Garriek, Specia| Agent, FBI

 

Printed name and title

Swom to before me and signed in my presence.

Da[e: 06/05/2017

 

J dgc 's signature

Ci¢y and gmc Augusta, Georgia Brian K. Epps. United States Magistrate Judge

 

Primed name and title

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AFFIDAVIT IN SUPPORT OF APPLICATION FOR ARREST WARRANT
l, Justin C. Garrick, being first duly sworn, hereby depose and state as follows:

lNTRODUCTlON AND AGENT BACKGROUND

 

l. l am a Special Agent with the Federal Bureau of Investigation (“FBI”) assigned to
the Atlanta division, and have been since 2008. During this time, I have received training at the
FBI Academy located at Quantico, Virginia, specific to counterintelligence and espionage
investigations I currently am assigned to investigate counterintelligence and espionage matters
Based on my experience and training, l am familiar with efforts used to unlawfully collect and
disseminate sensitive government information, including national defense information

2. Your affiant is currently investigating the activities of REALITV LEIGH
WINNER (“WINNER”), whom your affiant believes willfully retained and transmitted classified
national defense information to a person not entitled to receive it in violation of 18 U.S.C. §
793(e). 'I`hese acts occurred in Augusta, Georgia, which is located within the Southem District of

Georgia. Your affiant submits this complaint in support of the arrest of WINNER.

3. The facts in this affidavit come from your affiant’s personal observations, training
and experience, and information obtained from other U.S. Government officers, agents, and
witnesses This affidavit is intended to show merely that there is sufficient probable cause for

WlNNER's arrest and does not set forth all of your affiant’s knowledge about this matter.

STATUTOR\’ AUTHOR]TY AND DEFlNITIONS
4. For the reasons set forth below, I believe that there is probable cause to believe

that WINNER committed a violation of Title 18, United States Code, Section 793(¢).

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A_@idaw't in support of arrest of R.EA LITY LEIGH WlNNER

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5. Under 18 U.S.C. § 793(e), “whoever having unauthorized possession of, access to,
or control over any document . . . or information relating to the national defense which
information the possessor has reason to believe could be used to the injury of the United States or
to the advantage of any foreign nation, willfully communicates, delivers, transmits or causes to be
communicated, delivered, or transmitted” or attempts to do or causes the same “to any person not
entitled to receive it, or willfully retains the same and fails to deliver it to the officer or employee
of the United Statcs entitled to receive it” shall be fined or imprisoned not more than ten years, or
both.

6. Under Executive Order 13526, information in any form may be classified if it: (l)
is owned by, produced by or for, or is under the control of the United Statcs Govemment; (2) falls
within one or more of the categories set forth in the Executive Order [Top Secret, Secret, and
Coniidential]; and (3) is classified by an original classification authority who determines that its
unauthorized disclosure reasonably could be expected to result in damage to the national security.

7. Where such unauthorized disclosure could reasonably result in damage to the
national security, the information may be classified as “Confidential” and must be properly
safeguarded. Where such unauthorized disclosure could reasonably result in serious damage to
the national security, the information may be classified as “Secret” and must be properly
safeguarded Where such unauthorized disclosure could reasonably result in exceptionally grave
damage to the national security, the information may be classified as “Top Secret" and must be

properly safeguarded

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affidavit in support Qf arrest ofREALIT}' LE!GH WlNNER

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8. Classified information of any designation may be shared only with persons
determined by an appropriate United Statcs Government official to be eligible for access, and
who possess a “need to know.” Among other requirements, in order for a person to obtain a
security clearance allowing that person access to classified United States Government
information, that person is required to and must agree to properly protect classified information
by not disclosing such information to persons not entitled to receive it, by not unlawfully
removing classified information from authorized storage facilities, and by not storing classified
information in unauthorized Iocations. If a person is not eligible to receive classified information,
classified information may not be disclosed to that person. ln order for a foreign govenunent to
receive access to classified information, the originating United Statcs agency must determine that
such release is appropriate

9. Pursuant to Executive Order 13526, classified information contained on automated
information systems, including networks and telecommunications systems, that collect, create,
communicate, compute, disseminate, process, or store classified information must be maintained
in a manner that: (l) prevents access by unauthorized persons; and (2) ensures the integrity of the
information,

lO. 32 C.F.R. Parts 2001 and 2003 regulate the handling of classified information.
Specifically, 32 C.F.R. § 2001.43, titled “Storage,” regulates the physical protection of classified
information, This section prescribes that Secret and Top Secret information “shall be stored in a
GSA-approved security container, a vault built to Federal Standard (PHD STD) 832, or an open

storage area constructed in accordance with § 2001 .53.” lt also requires periodic inspection of the

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Ajidavr'! in support of arrest of REAL!TY LE!GH WlNNER

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container and the use of an lntrusion Detection System, among other things.
PROBABLE CAUSE

11. WlNNER is a contractor with Pluribus lntemational Corporation assigned to a
U.S. Government Ageney facility in Georgia. She has been employed at the facility since on or
about February 13, 2017, and has held a 'I`op Secret clearance during that time. As set forth in
further detail below, on or about May 9, 2017, WlNNER printed and improperly removed
classified intelligence reporting, which contained classified national defense information and
was dated on or about May 5, 2017 (the “intelligence reporting”) from an Intelligence
Community Ageney (the “U.S. Government Agency”) and unlawfully retained it.
Approximately a few days later, WlNNER then unlawfully transmitted the intelligence
reporting to an online news outlet (the “News Outlet”).

12. On June l, 2017, the FBI was notified by the U.S. Government Ageney that the
U.S. Government Ageney had been contacted by the News Outlet on May 30, 2017, regarding an
upcoming story. The News Outlet informed the U.S. Government Ageney that it was in
possession of what it believed to be a classified document authored by the U.S. Government
Agency. The News Outlet provided the U.S. Government Ageney with a copy of this document.
Subsequcnt analysis by the U.S. Government Ageney confirmed that the document in the News
Outlet’s possession is the intelligence reporting 'I`he intelligence reporting is classified at the
Top Secret level, indicating that its unauthorized disclosure could reasonably result in
exceptionally grave damage to the national security, and is marked as such. The U.S.

Government Ageney has since confirmed that the reporting contains information that was

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Ajidavr’l in support of arrest of REALITY LEIGH WlNNER

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classified at that level at the time that the reporting was published on or about May 5, 2017, and
that such information currently remains classified at that level.

13. 'l'hc U.S. Government Ageney examined the document shared by the News Outlet
and determined the pages of the intelligence reporting appeared to be folded and/or creased,

suggesting they had been printed and hand-carried out of a secured space,

14. The U.S. Government Ageney conducted an internal audit to determine who
accessed the intelligence reporting since its publication. The U.S. Government Ageney
determined that six individuals printed this reporting. WlNNER was one of these six individuals
A further audit of the six individuals’ desk computers revealed that WlNNER had e-mail contact
with the News Outlet. The audit did not reveal that any of the other individuals had e.mail
contact with the News Outlet.

15. On June 3, 2017, your affiant spoke to WlNNER at her home in Augusta, Georgia.
During that conversation, WlNNER admitted intentionally identifying and printing the classified
intelligence reporting at issue despite not having a “need to know,” and with knowledge that the
intelligence reporting was classified. WlNNER further admitted removing the classified
intelligence reporting from her office space, retaining it, and mailing it from Augusta, Georgia, to
the News Outlet, which she knew was not authorized to receive or possess the documents.
WlNNER further acknowledged that she was aware of the contents of the intelligence reporting
and that she knew the contents of the reporting could be used to the injury of the United Statcs

and to the advantage of a foreign nation.

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Ajidavil in support of arrest of REA LITY LEIGH WlNNER

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CONCLUS!ON
16. Your affiant submits that the facts set forth in this affidavit establish probable
cause to believe WlNNER committed a violation of 18 U.S.C. Section 793(e). Therefore, your

affiant respectfully requests this Court issue an arrest warrant for WlNNER.

Respectfully submitted,

Jus 'n C. Garrfc:k

Special Agent
Federal Bureau of Investigation

Subscribed and sworn to before me
on June 5, 2017:

    

BRIAN K. EPPS
UN[TED STATES MAGISTRATE JUDGE

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Aj?davir in support of arrest ofREAL/TY LEIGH WlNNER

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